AO 199A (Rev. in ED/NC on 6/11114) Order Setting Conditions of Release                                    Page I of   ~     Pages




                                      UNITED STATES DISTRICT COURT FILEDINOPENCOURT
                                                                         for the                   ON    ~ _ d...:t- \ '2, ~12-t{..
                                                                                                        Petw A. Moore, Jr., Clerk
                                                                                                        US Diatrict Court
                                                                                                        Eattem Dlltrtct of NC
                    United States of America                                )
                               v.                                           )


  "JOse- Gv:c ~o- ~~'l i      Defendant                                     )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)   The defendant must not violate federal, state, or local law while on release including motor vehicle violations.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the probation office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:
                                                                                           Place




      on
                                                                           Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.




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AO 199C (Rev in EDINC on 6/11/14) Advice of Penalties                                                           Page           of   V   Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                          Defendant's Signature


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                                                                                               City aniState



                                               Directions to the United States Marshal

~     The defendant is ORDERED released after processing.
( ' ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
      has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
      the appropriate judge at the time and place specified.



                                                                                       Judicial Officer's Signature


                                                                      Jf!0~ . t{,_G/h-:t> $AL
                                                                                         Printed name and title




                   DISTRIBUTION       COURT      DEFENDANT       PROBATION OFFICE        U.S ATTORNEY             US MARSHAL




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